 Case: 5:23-cr-00038-GFVT-EBA              Doc #: 87 Filed: 11/28/23           Page: 1 of 2 - Page
                                             ID#: 283



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                      LEXINGTON

UNITED STATES OF AMERICA,                           )
                                                    )
      Plaintiff,                                    )
                                                    )         Case No. 5:23-cr-00038-GFVT-EBA-3
v.                                                  )
                                                    )
LEYNNER ANDRE RIASCOS YEPES,                        )
                                                    )                     ORDER
      Defendant.                                    )

                                       ***    ***       ***    ***

      This matter is before the Court on the Recommendation to Accept Guilty Plea filed by

United States Magistrate Judge Edward B. Atkins. [R. 86.] The recommendation instructed the

parties to file any specific written objections within three days after being served with the

decision, or else waive the right to further review. Id. at 3. Neither party objected and the time

to do so has now passed.

       Upon review, the Court is satisfied that Defendant Leynner Andre Riascos Yepes

knowingly and competently pled guilty to the Count 4 and that an adequate factual basis supports

the plea as to this count. He also consented to forfeiture of the property listed in the forfeiture

allegation of the Indictment. Id. at 2. Accordingly, the Court hereby ORDERS as follows:

       1. Judge Atkins’s Recommendation to Accept Guilty Plea [R. 86] is ADOPTED as and

           for the Opinion of the Court;

       2. Defendant Leynner Andre Riascos Yepes is ADJUDGED guilty of Count 4 of the

           Superseding Indictment;

       3. The Defendant’s interest in the property listed in the forfeiture allegation of the

           Indictment is FORFEITED; and,
Case: 5:23-cr-00038-GFVT-EBA      Doc #: 87 Filed: 11/28/23   Page: 2 of 2 - Page
                                    ID#: 284



    4. The Defendant’s Jury Trial is CANCELLED.



       This the 27th day of November, 2023.




                                         2
